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EXHIBIT “B”
 

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EXHIBIT “C”
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Patient Name: Green, Krista
Patient DOB: N/A
Surgeon Name: Dr Nickolas Byrge

PROGRASP FORCEPS

 

capt0_20180130-190738.jpg

 

Case Date/Time: Jan/30/18, 06:25PM
CPT Code: N/A
Reference: N/A

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Patient Name: Green, Krista
Patient DOB: N/A
Surgeon Name: Dr Nickolas Byrge

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capt0_20180130-185343.jpg

Case Date/Time:
CPT Code: N/A
Reference: N/A

 

Jan/30/18, 06:25PM

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Patient Name: Green, Krista
Patient DOB: N/A
Surgeon Name: Dr Nickolas Byrge

capt0_20180130-190657.jpg

Case Date/Time: Jan/30/18, 06:25PM
CPT Code: N/A
Reference: N/A

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